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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                    8:07CR19
       vs.                                  )
                                            )                     ORDER
FRANCISCO HERNANDEZ,                        )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed MOTION TO ENLARGE TIME
TO FILE PRETRIAL MOTIONS [52].    For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 30-day extension. Pretrial Motions
shall be filed by March 15, 2007

       IT IS ORDERED:

      1.    Defendant's MOTION TO ENLARGE TIME TO FILE PRETRIAL MOTIONS [52] is
granted. Pretrial motions shall be filed on or before March 15, 2007.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between February
13, 2007 and March 15, 2007, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 14th day of February, 2007.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
